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                               UNITED STATES DISTRICT COURT
 JEANNETIE J. CLACK              WESTERN DISTRICT OF TEXAS                           PHILIP J. DEYLIN
   CLERK OF COURT
                              655 East Cesar E. Chavez Blvd., Rm G-65                 CHIEF DEPUTY
                                     San Antonio, Texas 78206



                                       February 6, 2017

Clerk
BEXAR COUNTY DISTRICT COURT
101 W. Nueva, Suite 217
San Antonio, TX 78205-3411

        I, Jean nette   3.   Clack, Clerk of the United States District Court for the

Western'District of Texas, do hereby certify and transfer the below-styled

and numbered cause to the Bexar County District Court pursuant to an

Order entered remanding, by the Honorable Chief Judge Orlando L. Garcia.

Enclosed is a certified copy of the transferring order and docket sheet in the

cause entitled: Case Number: SA-16-CV-1131-OLG; Francisco Magallanez v.

All StateFire and Casualty Insurance Company.

        IN TESTIMONY WHEREOF, I have hereunto Subscribed my name and

affixed the seal of the aforesaid Court at San Antonio, Texas, this 6th
                                                                        day of
February, 2017.

                                            Jeannette     3.   Clack, CLERK




                                                     rt   F.   Flaig, Deputy Clerk
